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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                         )    Chapter 11
                                                               )
W.R. GRACE & CO., et al.,1                                     )    Case No. 01-01139 (JKF)
                                                               )    (Jointly Administered)
                                       Debtors.                )
                                                               )

                             DECLARATION OF SERVICE REGARDING:

DEBTORS’ DISCLOSURE STATEMENT FOR THE FIRST AMENDED                                                       Copy attached
JOINT PLAN OF REORGANIZATION UNDER CHAPTER 11 OF THE                                                      hereto as
BANKRUPTCY CODE OF W. R. GRACE & CO., ET AL., THE OFFICIAL                                                Exhibit A
COMMITTEE OF ASBESTOS PERSONAL INJURY CLAIMANTS, THE
ASBESTOS PI FUTURE CLAIMANTS’ REPRESENTATIVE, AND THE
OFFICIAL COMMITTEE OFEQUITY SECURITY HOLDERS DATED AS
OF FEBRUARY 27, 2009
[on compact disc]

EXHIBIT BOOK TO FIRST AMENDED JOINT PLAN OF                                                               Copy attached
REORGANIZATION AND DISCLOSURE STATEMENT AS OF                                                             hereto as
FEBRUARY 27, 2009 [on compact disc] comprised of:                                                         Exhibit B

        Exhibit 1 First Amended Joint Plan Of Reorganization
        Exhibit 2 Asbestos PI Trust
        Exhibit 3 Asbestos PD Trust Agreement
1
 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., GC Limited Partners I, Inc., (f/k/a Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.
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     Exhibit 4 Asbestos Trust Distribution Procedures
     Exhibit 5 Schedule Of Settled Asbestos Insurers Entitled To 524 (g)
      Protection
     Exhibit 6 Asbestos Insurance Transfer Agreement
     Exhibit 7 [intentionally left blank]
     Exhibit 8 Best Interests Analysis
     Exhibit 9 CDN ZAI Minutes Of Settlement
     Exhibit 10 Cooperation Agreement
     Exhibit 11 PI Deferred Payment Agreement
     Exhibit 12 Financial Information
     Exhibit 13 Fresenius Settlement Agreement
     Exhibit 14 To Exhibit Book Fresenius Settlement Order
     Exhibit 15 W. R. Grace & Co. Guarantee Agreement (PI)
     Exhibit 16 Non-Debtor Affiliate Schedule
     Exhibit 17 To Exhibit Book Plan Registration Rights Agreement
     Exhibit 18 Rejected Executory Contracts And Unexpired Leases
      Schedule
     Exhibit 19 Retained Causes Of Action Schedule
     Exhibit 20 Share Issuance Agreement
     Exhibit 21 Unresolved Asbestos PD Claims Schedule
     Exhibit 22 Sealed Air Settlement Agreement
     Exhibit 23 Sealed Air Settlement Order
     Exhibit 24 Warrant Agreement
     Exhibit 25 Case Management Order For Class 7A Asbestos PD Claims
     Exhibit 26 Asbestos PI/Pd Inter-Creditor Agreement
     Exhibit 27 Asbestos Payment Agreement (Class 7A PD)
     Exhibit 28 Asbestos Payment Agreement (Class 7B ZAI)
     Exhibit 29 W. R. Grace & Co. Guarantee Agreement (Class 7A PD)
     Exhibit 30 W. R. Grace & Co. Guarantee Agreement (Class 7B ZAI)
     Exhibit 31 Stock Incentive Plan
     Exhibit 32 Stock Trading Restrictions Term Sheet
     Exhibit 33 ZAI PD Trust Distribution Procedures

NOTICE OF CONFIRMATION HEARING AND IMPORTANT                                Copy attached
DEADLINES IN RELATION TO THE FIRST AMENDED JOINT PLAN OF                    hereto as
REORGANIZATION OF W. R. GRACE & CO., ET AL.                                 Exhibit C

ORDER APPROVING DISCLOSURE STATEMENT, SOLICITATION AND                      Copy attached
CONFIRMATION PROCEDURES, CONFIRMATION SCHEDULE AND                          hereto as
RELATED RELIEF                                                              Exhibit D

W. R. GRACE & CO. ET AL. VOTING PROCEDURES                                  Copy attached
                                                                            hereto as
                                                                            Exhibit E
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NOTICE OF PROCEDURES RELATING TO PAYMENT OF POST-                 Copy attached
PETITION INTEREST ON GENERAL UNSECURED CLAIMS                     hereto as
                                                                  Exhibit F

NOTICE OF NON-VOTING CLAIM STATUS FOR JOINT PLAN OF               Copy attached
REORGANIZATION                                                    hereto as
                                                                  Exhibit G

NOTICE TO COUNTERPARTIES TO EXECUTORY CONTRACTS AND               Copy attached
UNEXPIRED LEASES                                                  hereto as
                                                                  Exhibit H

NOTICE OF NON-VOTING STATUS WITH RESPECT TO UNIMPAIRED            Copy attached
CLASSES DEEMED TO ACCEPT JOINT PLAN OF REORGANIZATION             hereto as
                                                                  Exhibit I

CD INSTRUCTION LETTER                                             Copy attached
                                                                  hereto as
                                                                  Exhibit J

VOTING INSTRUCTIONS AND BALLOT FOR HOLDERS OF INDIRECT            Custom sample
PI TRUST CLAIMS WITHIN CLASS 6 ASBESTOS PI CLAIMS                 attached hereto
                                                                  as Exhibit K

VOTING INSTRUCTIONS AND MASTER BALLOT FOR HOLDERS OF              Custom sample
CLASS 7A ASBESTOS PD CLAIMS                                       attached hereto
                                                                  as Exhibit L

VOTING INSTRUCTIONS AND BALLOT FOR HOLDERS OF CLASS 7B            Custom sample
ASBESTOS PD CLAIMS (US ZAI PD CLAIMS)                             attached hereto
                                                                  as Exhibit M

VOTING INSTRUCTIONS AND BALLOT FOR CLASS 8 CDN ZAI PD             Custom sample
CLAIMS                                                            attached hereto
                                                                  as Exhibit N

VOTING INSTRUCTIONS AND BALLOT FOR HOLDERS OF CLASS 9             Custom sample
GENERAL UNSECURED CLAIMS                                          attached hereto
                                                                  as Exhibit O

VOTING INSTRUCTIONS AND BALLOT FOR HOLDERS OF CLASS 10            Custom sample
EQUITY INTERESTS OF W. R. GRACE & CO. (CUSIP # 38388F108)         attached hereto
                                                                  as Exhibit P
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VOTING INSTRUCTIONS AND BALLOT FOR HOLDERS OF CLASS 10                             Sample
EQUITY INTERESTS OF W. R. GRACE & CO. (CUSIP # 38388F108)                          attached hereto
                                                                                   as Exhibit Q

MASTER BALLOT AND VOTING INSTRUCTIONS FOR CLASS 10                                 Sample
EQUITY INTERESTS OF W. R. GRACE & CO. (CUSIP # 38388F108)                          attached hereto
                                                                                   as Exhibit R

RETURN ADDRESS ENVELOPE [copy not attached hereto]                                 Exhibit S



       I, Kevin Martin, state as follows:

       1.     I am over eighteen years of age and I believe the statements contained herein are true

based on my personal knowledge. My business address is c/o BMC Group, Inc. (f/k/a Bankruptcy

Management Corporation), 444 North Nash Street, El Segundo, California 90245.

       2.     At the direction of Kirkland & Ellis LLP, co-counsel to the debtors and debtors in

possession in the above-captioned cases, the documents attached hereto as Exhibits A through S

were served as described in Exhibits 1 through 33. Service commenced on March 27, 2009 and

concluded on March 30, 2009:



Exhibit 1         Address List regarding Exhibits C, D and I
                      The Class 1 Priority Claimants are referenced in Service Lists 31941 and
                        31982
                      The Class 2 Secured Claimants are referenced in Service Lists 31940 and
                        31983
                      The Class 3 Employee Benefit Claimants are referenced in Service List
                        31939
                      The Class 4 Workers’ Compensation Claimants are referenced in Service
                        List 31938
                      The Class 5 Intercompany Claimants are referenced in Service List
                        31937

Exhibit 2         Address List regarding Exhibits A, B C, D, E, J, K and S
                      The Class 6-A Asbestos PI—Attorneys are referenced in Service List
                        31936
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                      The Class 6-B Asbestos PI—Individuals are referenced in Service List
                       31935
                      The Class 6-C Asbestos PI—Indirect Trust are referenced in Service List
                       31934

Exhibit 3       Address List regarding Exhibits A, B, C, D, E, J, L and S
                    The Class 7-A Asbestos PD—Attorneys are referenced in Service List
                      31933
                    The Class 7-A Asbestos PD—Individuals are referenced in Service List
                      31932

Exhibit 4       Address List regarding Exhibits A, B, C, D, E, J, M and S
                    The Class 7-B US ZAI PD—Attorneys are referenced in Service List
                      31930
                    The Class 7-B US ZAI PD—Individuals are referenced in Service List
                      31929
                    The Class 7-B US ZAI PD—Class Representatives are referenced in
                      Service List 31928

Exhibit 5       Address List regarding Exhibits A, B, C, D, E, G and J
                    The Class 7-B USA ZAI PD—Untimely Filed Parties are referenced in
                      Service List 31927

Exhibit 6       Address List regarding Exhibits A, B, C, D, E, J, N and S
                    The Class 8 CDN ZAI PD Claimants are referenced in Service List
                      31926

Exhibit 7       Address List regarding Exhibits A, B, C, D, F, E, J, O and S
                    The Class 9 General Unsecured Claimants—Scheduled are referenced in
                      Service List 31925
                    The Class 9 General Unsecured Claimants—Proof of Claim are
                      referenced in Service List 31924
                    The Class 9 Unsecured Lenders are referenced in Service List 31922
                    The Class 9 General Unsecured Claimants—Proof of Claim—Multiple
                      Ballots are referenced in Service List 31986

Exhibit 8       Address List regarding Exhibits A, B, C, D, E, F and G
                    The Class 9 General Unsecured Claimants—Non-Voting are referenced
                      in Service List 31923

Exhibit 9       Address List regarding Exhibits C, D, G and I
                    The Class 11 Equity Interests In the Debtors Other than the Parent
                      Parties are referenced in Service List 31919
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Exhibit 10       Address List regarding Exhibits A, B, C, D, E, G and J
                     The Unclassified Administrative and Priority Tax Claimants are
                       referenced in Service List 31918
                     Those parties who have requested special notice and the Core Group are
                       referenced in Service List 31915

Exhibit 11       Address List regarding Exhibits C, D, H and G
                     The Schedule G Executory Contracts and Unexpired Leases Parties are
                       referenced in Service List 31917

Exhibit 12       Address List regarding Exhibits A, B, C, D, E, J, K, L, M and S
                     The Fresenius Multiple Class Ballot Parties are referenced in Service List
                       31985

Exhibit 13       Address List regarding Exhibits A, B, C, D, E and J
                     The Special Notice to Class 9 Lenders are referenced in Service List
                       31987

Exhibit 14       Address List regarding Exhibits A, B, C, D, E, J, L, O and S
                     St. Paul Multiple Class Party is referenced in Service List 31984

Exhibit 15       Address List regarding Exhibits A, B, C, D, E, J, M, O and S
                     Burlington Northern Multiple Class Parties are referenced in Service List
                       31981

Exhibit 16       Address List regarding Exhibits A, B, C, D, E, J, M and S
                     Class 7-B Rust US ZAI Individual Parties are referenced in Service List
                       31961
                     Class 7-B Multiple Ballot Parties are referenced in Service List 32462

Exhibit 17       Address List regarding Exhibits A, B, C, D, E, J , K and S
                     Class 6 Rust PI Attorneys are referenced in Service List 31963
                     Class 6 Rust PI Individuals are referenced in Service List 31964

Exhibit 18       Address List regarding Exhibits A, B, C, D, E, J, K, L, O and S
                     Sealed Air Corp Multiple Class Ballot Party is referenced in Service List
                       32451

Exhibit 19       Address List regarding Exhibits A, B, C, D, E, J, O and S
                    Class 9 Multiple Ballot Parties are referenced in Service List 32452

Exhibit 20       Address List regarding Exhibits A, B, C, D, E, I, J, O and S
                     Prindle Non-Vote Class Notice and Class 9 Ballot Parties are referenced
                       in Service List 32453
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Exhibit 21       Address List regarding Exhibits A, B, C, D, E, G, J, O and S
                     Non-Vote Claim Notice and Class 9 Ballot Parties are referenced in
                       Service List 32455

Exhibit 22       Address List regarding Exhibits A, B, C, D, E, J, K, O and S
                     Class 6 and Class 9 Ballot Parties are referenced in Service List 32456

Exhibit 23       Address List regarding Exhibits A, B, C, D, E, I, J, K and S
                     Non-Vote Class Notice and Class 6 Ballot Party is referenced in Service
                       List 32457

Exhibit 24       Address List regarding Exhibits A, B, C, D, E, J, K and S
                     Class 6 Multiple Ballot Parties are referenced in Service List 32458

Exhibit 25       Address List regarding Exhibits A, B, C, D, E, J, K, L and S
                     Class 6 and Class 7-A Ballot Parties are referenced in Service List 32459

Exhibit 26       Address List regarding Exhibits A, B, C, D, E, J, K, N and S
                     Class 6 and Class 8 Ballot Party is referenced in Service List 32460

Exhibit 27       Address List regarding Exhibits A, B, C, D, E, J, K, M and S
                     Class 6 and Class 7-B Ballot Parties are referenced in Service List 32461

Exhibit 28       Address List regarding Exhibits A, B, C, D, E, J, L and S
                     The Class 7-A Multiple Ballot Parties are referenced in Service List
                       32463

Exhibit 29       Address List regarding Exhibits A, B, C, D, E, G, J, K and S
                     Non-Vote Claim Notice and Class 6 Ballot Parties are referenced in
                       Service List 32465

Exhibit 30       Address List regarding Exhibits A, B, C, D, E, J, K, I, O and S
                     The Class 6 Ballot Class 9 Ballot and Non-Vote Class Notice Party is
                       referenced in Service List 32466

Exhibit 31       Address List regarding Exhibits A, B, C, D, E, G, J, I, O and S
                     The Class 9 Ballot, Non-Vote Class Notice and Non-Vote Claim Notice
                       Party is referenced in Service List 32467

Exhibit 32       Address List regarding Exhibits A, B, C, D, E, J, Q, R and S
                     The Class 10 Beneficial Ballot Equity Interests in the Parent—Nominees
                       are referenced in Service List 31921
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